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1     Lynn Macy “In Pro Per”                                   06/22/2024
      P.O. Box #103
2     Twin Peaks, CA 92391
      Telephone: (909) 744 -8480
                                                                   AP


3     Email: Macybuilders@yahoo.com
             PLAINTIFF IN PRO PER
4                             THE UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA EASTERN DIVISION
5
      Lynn MACY, as an individual, JEFF            Case No.: 5:24-cv-00902-KK-DTB
6     MACY, as an individual,
                                                   PLAINTIFF RESPONSE TO NOTICE OF
7     PLAINTIFFS,                                  RELATED CASES
8
      vs.                                          Related Case No.: 5:23-cv-01955-HDV-
9
                                                   PD
      CSA-18 SPECIAL DISTRICTS PUBLIC
10    WORKS, a public entity, SAN                  Case Assigned to:
      BERNARDINO COUNTY CODE                       Honorable District Court Judge Kenly
11    ENFORCEMENT, a public entity.                Kiya Kato

12    DEFENDANTS.                                  Referred to:
                                                   Honorable Magistrate Judge David T.
13                                                 Bristow

14    Pursuant to Local Rule 83-1.3.3 Opposition, Plaintiff Lynn Macy through their

15    undersigned counsel, hereby files this Response to Notice of Related Cases

16    against Defendants CSA-18 Special Districts Public Works, inclusive (collectively

17    “Defendants”), alleges as follows:

18                           RESPONSE TO NOTICE OF RELATED CASES
19          1. The claims of each Plaintiff listed in Case No.: 5:24-cv-00902-KK-DTB, &
20             Case No.: 5:23-cv-01955-HDV-PD are different Plaintiffs against entirely
21             different Defendants, different San Bernardino County employees &
22             departments. Both cases do not arise from the same happenings or
23             events, as they are different San Bernardino County employees &
24             departments committing different violations at different times. Both cases
25             also take place in different places; CedarPines Park, CA verses Lake
26
               Arrowhead, CA.
27

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1
         2. Namely, on Lynn Macy vs. CSA-18 Special Districts Public Works,
2
            Defendants CSA-18’s failure to repair or fix roads, namely Burnt Mill
3
            Canyon Road which Defendant CSA-18 is responsible to repair.
4
         3. Defendants CSA-18 Supervisors allowed workers to trespass onto Plaintiff
5
            Lynn Macy’s property. The default remedy is the damages, considering
6
            the fair market value of the property or returning the property. Since 2021
7
            until today, Plaintiff has discovered on 2/27/2023 that the Defendant CSA-
8
            18 factually did not file Plaintiff’s complaint or claim against Defendant
9
            CSA-18 with County of San Bernardino Risk Management, which
10
            Defendant CSA-18 claimed to have filed back in 2021. 2 months later
11

12
            Defendant CSA-18 said Risk Management denied Plaintiff’s claim, without

13          giving Plaintiff any paperwork to prove it or even a case number.

14       4. Defendant CSA-18 stole lights, cables, signs, posts, bolts while trespassing

15          onto Plaintiff Lynn Macy’s property APN# 0342-031-01 back in 2021.

16          Defendant CSA-18 admitted to damaging Plaintiff’s property to the

17          Police, but the Police Officer refused to prosecute Defendant saying, “We

18          don’t normally arrest county officials”. Defendant CSA-18 took down

19          Plaintiff’s cables, which caused all glass lights to be broken, & left the
20          broken glass shards all over Plaintiff’s private road (destruction of private
21          property California Penal Code § 594 PC).
22       5. Defendant CSA-18 also fined Plaintiff Lynn Macy for having an RV, not
23          even belong to Plaintiff, on Macy Land for $100 on 11/07/2023 at 8 AM.
24          CO#: CSE-2023-14000. Citation No. C230021514. Defendant CSA-18 is
25          responsible for the RV even being on Plaintiff’s Macy Land property in the
26
            first place because Defendant cut, removed, & stole Plaintiff’s
27
            cables/chains which would have prevented squatters & the trashed RV to
28                                           PAGE 2
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1
           be put on Plaintiff’s private property. Defendant CSA-18 also took down
2
           Plaintiff’s posted no trespassing signs. Defendant CSA-18 is the reason that
3
           squatters were able to enter Plaintiff’s property, so Defendants are liable.
4
           Plaintiff appealed the ticket & won the hearing on appeal.
5
         6. Defendant CSA-18 has been dumping base rock, trash, waterflow, &
6
           water pipes onto Plaintiff Lynn Macy’s property for years without
7
           permission.
8
         7. On Jeff Macy vs. San Bernardino County Code Enforcement, Defendants
9
           Code Enforcement has violations of California’s Bane Act. Defendants
10
           intentionally interfered with Plaintiff Jeff Macy’s civil rights by threats,
11

12
           intimidation, or coercion in that Defendants acted violently against

13         Plaintiff Jeff Macy from exercising their right to unreasonable search by

14         trespassing into Plaintiff’s home. Defendants invaded & entered Plaintiff’s

15         private home without a warrant. Defendants gave constant notices,

16         trespassing onto Plaintiff’s property, & private road (Different property from

17         Lynn Macy vs. CSA-18 which was on or near Burnt Mill Canyon Road), &

18         constantly reporting trash in front of Plaintiff’s trash cans & leaves on

19         Plaintiff’s roof to harass Plaintiffs. For 18 years Plaintiff has been getting
20         unfounded Code violation notices. Plaintiff has report #’s for most
21         incidents: TPR2200512, TPR2101862, TPR2101994, TPR2200594, TPR2201407,
22         TPR2101443, TPR2200032, & TPR2201014.
23       8. Defendants Code Enforcement is against Cal Fire’s pretense laws & has
24         given Plaintiff Jeff Macy multiple notices to move wood 30 feet away from
25         all structures, despite there being a fire-resistant tarp covering the wood.
26
           Cal Fire’s notice of defensible space inspection states in Zone 1 section G.
27
           to relocate exposed wood piles outside of Zone 1 unless completely
28                                            PAGE 3
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